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Attorneys for Defendants

               IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF ALASKA


   KLOOSTERBOER INTERNATIONAL                )
   FORWARDING LLC and ALASKA                 )
   REEFER MANAGEMENT LLC,                    )
                                             )
                         Plaintiffs,         )
   vs.                                       ) Case No. 3:21-cv-00198 SLG
                                             )
   UNITED STATES OF AMERICA, U.S.            )
   DEPARTMENT OF HOMELAND                    )
   SECURITY, U.S. CUSTOMS AND                )
   BORDER PROTECTION, and TROY A.            )
   MILLER, U.S. Customs and Border           )
   Protection Acting Commissioner, in his    )
   official capacity,                        )
                                             )
                         Defendants.         )
                                             )
  MOTION FOR EXPEDITED CONSIDERATION OF THE UNITED
 STATES’ MOTION TO DISSOLVE THE COURT’S INJUNCTION AS
     TO PLAINTIFFS’ ONGOING USE OF THE BCR ROUTE

      COMES NOW, the United States of America, by and through

undersigned counsel, to move pursuant to District of Alaska Local Rule 7.3

for expedited consideration of the United States’ Motion to Dissolve the

Court’s Injunction as to Plaintiffs’ Ongoing Use of the BCR Route for the

following reasons:

      1.     Since October 10, 2021, Defendants have been enjoined “from

ever issuing and enforcing any new Notices of Penalty for alleged violations of

the Jones Act relating to shipments from Alaska to U.S. destinations through

Bayside via the BCR Route commenced or completed at any time from the

date of this order until the date of the final judgment in this action, and

regardless of the outcome of the action.” [Dkt. 95 at 23]

      2.     The Court has now ruled that Plaintiffs’ use of the BCR Route

does not comply with the Third Proviso because no “transportation” occurs

over the BCR. [Dkt. 154 at 20]

      3.     Except for the Court’s injunction, there is no legal impediment to

the United States enforcing the Jones Act as to Plaintiffs’ ongoing use of the

BCR Route.



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      4.    Every day the Court’s injunction remains in place the United

States is irreparably harmed by its inability to enforce the law. The United

States’ Motion to Dissolve therefore deserves the Court’s urgent attention.

      5.    The Declaration of AUSA Seth M. Beausang in support of this

Motion for Expedited Consideration is filed concurrently with this motion.

      6.    For all of these reasons, the Court should grant the Defendant’s

Motion for Expedited Consideration.

      RESPECTFULLY SUBMITTED this 7th day of June 2022, in

Anchorage, Alaska.

                                            S. LANE TUCKER
                                            United States Attorney

                                            s/ Seth M. Beausang
                                            Assistant U.S. Attorney
                                            United States of America

                                            s/ Siobhan A. McIntyre
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CERTIFICATE OF SERVICE
I hereby certify that on June 7, 2022,
a copy of the foregoing was served electronically on:

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